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                                              U.S. Department of Justice
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                                              March 7, 2025
 VIA ECF

 The Honorable Maryellen Noreika
 U.S. District Judge
 J. Caleb Boggs Federal Building
 844 N. King Street
 Wilmington, Delaware 19801

       Re: Order to Respond to Request to Unseal Search Warrant
           Applications and Affidavits, United States v. Hunter Biden,
           1:23-CR-61-MN (D.I. 279)

 Dear Judge Noreika:

        On February 28, the Court issued an Order asking the United States to provide
 its position by March 7 on the request to unseal search warrant applications and
 affidavits in the above-captioned case. Given that the Special Counsel has resigned
 from the Department of Justice, the undersigned did not become aware of the Court’s
 Order until yesterday. As a result, the Department is only now evaluating the Court’s
 request and needs additional time to formulate its position. Accordingly, the United
 States respectfully requests an additional 14 days to file its response.



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                                              Shannon T. Hanson
                                              Acting United States Attorney
                                              District of Delaware
